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                                                                                U.S.D.C. -Atlanta

                                                                               AUG 2 2 2C�8
                        IN THE UNITED STATES DISTRICT COURT                  Jame�
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                       FOR THE NORTHERN DISTRICT OF GEORGIABy:
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                                                                                               Clerk
                                                                                         (J;JJ Y
                                   GAINESVILLE DIVISION




         UNITED STA TES OF AMERICA
                                                    Criminal Indictment
                v.
                                                                  H 0 0 28
                                                    No. 2 � 1 8 C
         BARRY DEAN DANIELS




      THE GRAND JURY CHARGES THAT:



         On or about February 9, 2016, in the Northern District of Georgia, the

      defendant, BARRY DEAN DANIELS, having been previously convicted of a felony

      offense punishable by imprisonment for a term exceeding one year, did

      knowingly possess a firearm in and affecting interstate and foreign commerce,

      that is, a Taurus TCP .380 pistol, model PT-738, and a Hi-Point 9mm semi­

      automatic pistol, model C-9, in violation of Title 18, United States Code, Sections

      922(g)(l) and 924(a)(2).


                                           Forfeiture

         As a result of committing the offense alleged above, that is, a violation of Title

      18, United States Code, Section 922(g)(l), the defendant, BARRY DEAN DANIELS,

      shall forfeit to the United States, pursuant to Title 18, United States Code, Section

      924(d) and Title 28, United States Code, Section 2461(c), all firearms and

      ammunition involved in the commission of the offense.

         If, as a result of any act or omission of the defendants, any property subject to

      forfeiture:
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           a. cannot be located upon the exercise of due diligence;

           b. has been transferred or sold-to, or deposited with, a third person;

           c. has been placed beyond the jurisdiction of the Court;

           d. has been substantially diminished in value; or

           e. has been commingled with other property which cannot be

           subdivided without undue complexity or difficulty;

the United States intends, pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek

forfeiture of any other property of the defendants up to the value of the above

forfeitable property.




 BYUNGJ.PAK
  United States Attorne




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